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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS



UNITED STATES OF AMERICA

                                                    No. 1:19-mj-06087-MPK
       v.

JANE BUCKINGHAM


            DEFENDANT JANE BUCKINGHAM’S MOTION TO CONTINUE

       Defendant Jane Buckingham respectfully requests that the Court continue the date for her

initial appearance in this matter—currently scheduled for April 3, 2019—to April 10, 2019 or

such other time thereafter as is convenient for the Court. In the alternative, Ms. Buckingham

respectfully requests that the Court permit her to appear before the Court on April 3, 2019 by

video teleconference pursuant to Federal Rule of Criminal Procedure 5(f). As grounds for the

motion, Ms. Buckingham states as follows:

       1.      On March 12, 2019 Ms. Buckingham appeared before Magistrate Judge

Alexander F. MacKinnon in the U.S. District Court for the Central District of California in

relation to the complaint pending in this matter. During that appearance Judge MacKinnon set

her bail, ordered her conditions of release, and ordered Ms. Buckingham to surrender her

passport. Judge MacKinnon also ordered Ms. Buckingham to appear in the District of

Massachusetts on March 29, 2019 for an initial appearance in this matter.

       2.      On March 25, 2019, Ms. Buckingham filed a motion to continue her initial

appearance in this Court. The Court granted that motion on March 26, 2019 and set Ms.

Buckingham’s initial appearance for April 3, 2019 at 2:30 p.m.

       3.      Ms. Buckingham has no issue with her release conditions as they were imposed


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by Judge MacKinnon on March 12, 2019 and she is not seeking to modify them. Ms.

Buckingham is in full compliance with those release conditions and is in good standing with the

Pretrial Services Office.

       4.      Ms. Buckingham and the Government are currently considering a resolution to

this matter that would not require a hearing before the Court.

       5.      Ms. Buckingham’s counsel, Michael Proctor, has a scheduling conflict with the

current April 3, 2019 initial appearance date. Additionally, attending the initial appearance on

April 3, 2019 would cause inconvenience to Mr. Proctor and Ms. Buckingham, who would both

need to travel to the District of Massachusetts from California.

       6.      In the event that the Court does not continue her April 3, 2019 initial appearance,

Ms. Buckingham consents to appearing before the Court on that date by video teleconference.

       7.      Ms. Buckingham’s counsel conferred with the Government regarding the relief

sought by this motion, and the Government stated that it takes no position on the motion.

       WHEREFORE, Ms. Buckingham respectfully requests that this motion be ALLOWED,

and that this Court continue her initial appearance in this matter to April 10, 2019 or such other

time thereafter as is convenient for the Court. In the alternative, Ms. Buckingham respectfully

requests that she be permitted to appear before the Court on April 3, 2019 by video

teleconference.


 Dated: April 1, 2019                                Respectfully submitted,


                                                     /s/ Joseph F. Savage
                                                     Joseph F. Savage (BBO #443030)
                                                     Yvonne W. Chan (BBO# 669223)
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                                                            /s/ Michael J. Proctor
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                                                            Attorneys for Defendant Jane Buckingham




         LOCAL RULE 7.1(A)(2) CERTIFICATION AND CERTIFICATE OF SERVICE

         I hereby certify that counsel for Defendant met and conferred with opposing counsel in a good
faith effort to narrow or resolve the issues presented herein, and opposing counsel stated that it takes no
position.

         I further certify that this document filed through the ECF system will be sent electronically to the
registered participants as identified on the Notice of Electronic Filing (NEF) and paper copies will be sent
to those indicated as non-registered participants on April 1, 2019.


                                                          /s/ Joseph F. Savage




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